                   IN THE UNITED STATES DISTRICT COURT

              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :

             v.                                 :      Cr. N0. 99-505

AXEL SANTOS-CRUZ                                :


  GOVERNMENT’S RESPONSE TO THE DEFENDANT=S PRO SE MOTION
 FOR A REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. ' 3582(c)(2)
                     AND AMENDMENT 782

      Defendant Axel Santos-Cruz has filed a pro se motion for a reduction of sentence

pursuant to 18 U.S.C. ' 3582(c)(2) and Amendment 782 to the Sentencing Guidelines.

Amendment 782, which became effective on November 1, 2014 and was made

retroactive on that date, reduced by two levels the base offense level applicable to many

drug trafficking offenses. The government agrees that the amendment lowers the

defendant’s applicable guideline range and he is eligible for consideration of a reduction

of sentence. Santos-Cruz was sentenced to the top of the guideline range of 360 months

to life imprisonment. The government agrees that Santos-Cruz is eligible to a reduction

to a point within the amended range of 324 to 405 months. Santos-Cruz seeks a

reduction beyond that authorized by Amendment 782 and U.S.S.G. § 1B1.10, which is

not permitted. Consistent with his initial sentence, the government agrees that the

defendant’s sentence should be reduced to a point at or near the top of the amended

range, but will defer to the Court’s judgment as to a whether reduction to a lower point

in the range is nonetheless warranted.
       I.     BACKGROUND

       On August 24, 1999, Axel Santos-Cruz and his wife, Iris Davila, were charged

with conspiracy to distribute more than 1,000 grams of heroin and 50 grams of crack

cocaine, in violation of 21 U.S.C. 846, along with substantive distribution counts. The

defendants went to trial, and on March 23, 2000, Santos-Cruz was found guilty of the

conspiracy and one count of distributing heroin.

       The evidence at trial established that Santos-Cruz and Davila were the leaders of

a conspiracy to distribute crack cocaine and heroin in the Reading, Pennsylvania, area

for a seven-month period in 1998 and 1999. Davila and Santos-Cruz, who were equal

partners, employed family members as midlevel suppliers, and street level sellers to sell

crack and heroin under the brand names “Titanic” and “High Power.” Davila was

primarily responsible for the crack operation, while Santos-Cruz essentially controlled

the heroin operation. Most of the crack and heroin sales were conducted in a nearby

housing project at the house of co-coconspirator Angel Prieto. The evidence established

that the defendants sold approximately one-half to one kilo of crack and heroin per

week over the course of the conspiracy.

       At the sentencing hearing on October 30, 2000, Judge Van Antwerpen found that

Santos-Cruz was responsible for the distribution of at least 14 kilograms of crack and 14

kilograms of heroin, which carried the highest base offense level of 38. Santos-Cruz

received a four-level enhancement for his leadership role in the offenses, yielding a total

offense level of 42. Santos-Cruz was in criminal history category II, and his guideline

range was 360 months to life imprisonment. The court sentence Santos-Cruz to life.

       Santos-Cruz appealed his sentence, arguing that the Court’s drug quantity finding

was not supported by the evidence and violated Apprendi. The Third Circuit affirmed
the court’s quantity determination, noting that the evidence showed that Santos-Cruz

sold 14 to 56 kilograms of both heroin and crack during the course of the conspiracy,

and the court did not err by holding Santos-Cruz responsible for 14 kilograms of each

drug. United States v. Santos-Cruz, 45 F. App’x 190, 191 (3d Cir. 2002) (not

precedential). 1

       Santos-Cruz was not eligible for a reduction in sentence under the 2008 and 2011

amendments to the crack cocaine guidelines because the quantity of 14 kilograms of

crack continued to carry a base offense level of 38. Santos-Cruz now seeks a reduction

pursuant to Amendment 782, which lowered the offense levels for most drug offenses.

       II.    DISCUSSION

       Section 3582(c)(2) provides:

       [I]n the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
       defendant or the Director of the Bureau of Prisons, or on its own motion, the
       court may reduce the term of imprisonment, after considering the factors set
       forth in section 3553(a) to the extent that they are applicable, if such a reduction
       is consistent with applicable policy statements issued by the Sentencing
       Commission.

       In Section 1B1.10 of the Guidelines, the Sentencing Commission has identified

the amendments which may be applied retroactively pursuant to this authority, and

articulated the proper procedure for implementing the amendment in a concluded

case. 2 The version of Section 1B1.10 applicable to sentence reductions under


       1  In his motion, the defendant again challenges the district court’s quantity
determination, but recognizes that this Court must use this determination in assessing
his eligibility for a sentence reduction.

       2 Section 1B1.10 is based on 18 U.S.C. § 3582(c)(2), and also implements 28
U.S.C. § 994(u), which provides: “If the Commission reduces the term of imprisonment
recommended in the guidelines applicable to a particular offense or category of offenses,
Amendment 782 became effective on November 1, 2014. 3 Under Section 1B1.10: “In a

case in which a defendant is serving a term of imprisonment, and the guideline range

applicable to that defendant has subsequently been lowered as a result of an

amendment to the Guidelines Manual listed in subsection (d) below, the court may

reduce the defendant’s term of imprisonment as provided by 18 U.S.C. § 3582(c)(2). As

required by 18 U.S.C. § 3582(c)(2), any such reduction in the defendant’s term of

imprisonment shall be consistent with this policy statement.” § 1B1.10(a)(1).

      In Dillon v. United States, 560 U.S. 817 (2010), the Supreme Court addressed the

process for application of a retroactive guideline amendment, emphasizing that Section

1B1.10 is binding. The Court declared: “Any reduction must be consistent with

applicable policy statements issued by the Sentencing Commission.” Id. at 821. The

Court required district courts to follow a two-step approach:

      At step one, § 3582(c)(2) requires the court to follow the Commission’s
      instructions in § 1B1.10 to determine the prisoner’s eligibility for a sentence
      modification and the extent of the reduction authorized. Specifically, §
      1B1.10(b)(1) requires the court to begin by “determin[ing] the amended guideline
      range that would have been applicable to the defendant” had the relevant
      amendment been in effect at the time of the initial sentencing. “In making such
      determination, the court shall substitute only the amendments listed in
      subsection (c) for the corresponding guideline provisions that were applied when
      the defendant was sentenced and shall leave all other guideline application
      decisions unaffected.” Ibid.

      Consistent with the limited nature of § 3582(c)(2) proceedings, § 1B1.10(b)(2)
      also confines the extent of the reduction authorized. Courts generally may “not
      reduce the defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) . . . to


it shall specify in what circumstances and by what amount the sentences of prisoners
serving terms of imprisonment for the offense may be reduced.”


      3  Application note 8 (2014) provides: “the court shall use the version of this
policy statement that is in effect on the date on which the court reduces the defendant’s
term of imprisonment as provided by 18 U.S.C. § 3582(c)(2).”
         a term that is less than the minimum of the amended guideline range” produced
         by the substitution. § 1B1.10(b)(2)(A). . . .
         At step two of the inquiry, § 3582(c)(2) instructs a court to consider any
         applicable § 3553(a) factors and determine whether, in its discretion, the
         reduction authorized by reference to the policies relevant at step one is warranted
         in whole or in part under the particular circumstances of the case.

Dillon, 560 U.S. at 827.

         In this case, Amendment 782 lowers Santos-Cruz’s guideline range and he is

eligible for consideration of a reduction in sentence. Santos-Cruz’s offense level for 14

kilograms of crack and 14 kilograms of heroin is now 36, 4 and his total offense level is

40. At the established criminal history category of II, his guideline range is 324 to 405

months. This Court may reduce Santos-Cruz’s sentence to a point within this amended

range.

         Turning to step two, Section 1B1.10 directs that “the court shall consider the

factors set forth in 18 U.S.C. § 3553(a) in determining . . . whether a reduction in the

defendant’s term of imprisonment is warranted.” Id. app. note 1(B)(i); see also U.S.S.G.

§ 1B1.10 background (“The authorization of such a discretionary reduction does not

otherwise affect the lawfulness of a previously imposed sentence, does not authorize a

reduction in any other component of the sentence, and does not entitle a defendant to a

reduced term of imprisonment as a matter of right.”). The Court may consider all

pertinent information in applying the Section 3553(a) factors and determining whether

and by how much to reduce the defendant’s sentence. The Court must consider public

safety considerations, and may consider information regarding the post-sentencing




        Pursuant to the drug equivalency tables in Application Note 8(D), the quantity
         4

of heroin and crack in this case is equivalent to 63,994 kilograms of marijuana. Under
the drug quantity table of Section 2D1.1(c), an offense involving at least 30 but less than
90 kilograms of marijuana carries a base offense level of 36.
conduct or situation of the defendant, whether positive or negative. See Id. app. note

1(B)(ii), (iii) The application note explains that these factors are relevant in determining

whether and by how much to reduce a sentence, but only within the limits set forth in

Section 1B1.10(b).

       Thus, the Court may consider the defendant’s conduct in prison as well as the

concerns that animated the Court’s earlier decision to impose a sentence near the high

end of the guideline range. The government notes that Santos-Cruz has received

citations for two disciplinary infractions since his incarceration in this case, one for

disruptive conduct and one for assaulting a fellow inmate.

       While the government does not object to a reduction in this case, it submits that a

sentence at or near the top of the range would be appropriate. This would reflect the

sentencing court’s determination that Santos-Cruz deserved the maximum possible

sentence of life imprisonment, while accounting for the fact that Santos-Cruz would face

a lower range if sentenced today. The government will leave to the Court’s discretion the

extent of the appropriate reduction in this case.

       Santos-Cruz further asserts that he is eligible for an additional two-level

reduction under Amendment 715 to the Guidelines. He is wrong. After Amendment 706

became effective, it became apparent that the original method of calculation set forth in

Amendment 706 sometimes resulted in a “sentencing anomaly” whereby some offenders

did not receive the benefit of the two-level reduction, while some others received “a

reduction greater than intended.” U.S.S.G. app. C, amend. 715 (Reason for Amendment

¶ 1) (2008). In order to prevent such an unintended result, Amendment 715 amended

then-Application Note 10(D) to section § 2D1.1(c) of the Guidelines to provide that all

defendants whose offenses involved crack cocaine received a two level reduction, even if
the offenses also involved other substances. Several exceptions applied, including that

the reduction did not apply if the quantity of cocaine base was more than 4.5 kilograms.

Thus, Amendment 715 effectively replaced Amendment 706, and created a uniform two-

level reduction for the same offenses. See United States v. Boyd, --- F.3d ----, 2016 WL

3606579, at *1 (8th Cir. July 5, 2016).

        Amendment 715 was subsequently superseded by Amendment 750, which

became effective November 1, 2011, and which changed the marijuana equivalency for

one gram of crack from 20 kilograms of marijuana to 3,571 grams of marijuana, and

eliminated the “anomaly” created by Amendment 706 and fixed by Amendment 715.

Amendment 782 did not alter this calculation. The defendant’s marijuana equivalency

was calculated pursuant to this formula, and Amendment 715 has no application in this

case.

        In sum, this Court should exercise its discretion in determining whether to

reduce the defendant’s sentence, and if so, the extent of that reduction within the

amended range of 324 to 405 months.



                                          Respectfully submitted,

                                          ZANE DAVID MEMEGER
                                          United States Attorney


                                          /s/ Bernadette McKeon
                                          BERNADETTE McKEON
                                          Assistant United States Attorney
                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the Government’s Response to the

Defendant’s Pro Se Motion for a Reduction of Sentence pursuant to 18 U.S.C. '

3582(c)(2) and Amendment 782 was served by first-class mail, postage prepaid, upon:

                          Mr. Axel Santos-Cruz
                          Reg. No. 51969-066
                          FCI Schuylkill
                          P.O. Box 759
                          Minersville, PA 17954-0759

                                        /s/ Bernadette McKeon
                                        BERNADETTE McKEON
                                        Assistant United States Attorney



DATE: August 26, 2016
